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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                       Plaintiffs,                                  4:14CR3020

       vs.
                                                          MEMORANDUM AND ORDER
BENJAMIN M. MARTIN, AUDREY GLENN,

                       Defendants.


       Defendant Audrey Glenn has moved to continue the pretrial motion deadline, (filing no.
42), because the defendant and defense counsel need additional time to fully review the
discovery received before deciding if pretrial motions should be filed. The motion to continue is
unopposed. Based on the showing set forth in the motion, the court finds the motion should be
granted. Accordingly,

       IT IS ORDERED:

       1)     Defendant Audrey Glenn’s motion to continue, (filing no. 42), is granted.

       2)     As to both defendants, pretrial motions and briefs shall be filed on or before
              June 27, 2014. No further continuances will be granted absent a substantial
              showing of good cause.

       3)     As to both defendants, trial of this case remains continued pending resolution of
              any pretrial motions filed.

       4)     The ends of justice served by granting the motion to continue outweigh the
              interests of the public and the defendants in a speedy trial. Accordingly, as to
              both defendants, the additional time arising as a result of the granting of the
              motion, the time between today’s date and June 27, 2014, shall be deemed
              excludable time in any computation of time under the requirements of the Speedy
              Trial Act, because despite counsel’s due diligence, additional time is needed to
              adequately prepare this case for trial and failing to grant additional time might
              result in a miscarriage of justice. 18 U.S.C. § 3161(h)(1), (h)(6) & (h)(7).

       May 27, 2014.
                                                     BY THE COURT:

                                                     s/ Cheryl R. Zwart
                                                     United States Magistrate Judge
